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 1
 2                           UNITED STATES DISTRICT COURT
 3                                       DISTRICT OF NEVADA
 4
       UNITED STATES OF AMERICA,              )
 5                                            )
                  Plaintiff/Respondent,       )                No. 2:07-cr-00145-KJD-PAL
 6                                            )
                  vs.                         )                ORDER
 7                                            )
       DANIEL JOSEPH EGAN,                    )
 8                                            )
                  Defendant/Movant.           )
 9     ______________________________________ )
10                   WHEREAS, Defendant Daniel Joseph Egan has filed an amended motion under 28

11     U.S.C. § 2255 alleging ineffective assistance of trial counsel, Karen C. Winckler, Esq.,

12                   IT IS ORDERED that the attorney-client privilege in 2:07-cr-145-KJD between

13     Defendant Daniel Joseph Egan and Karen C. Winckler, Esq. is waived as to the allegations of

14     ineffective assistance of counsel in Petitioner’s Amended Petition to Vacate, Set Aside or Correct

15     Sentence Pursuant to 28 U.S.C. § 2255 (Doc. No. 1262).

16                   IT IS FURTHER ORDERED that no later than September 27, 2012, Karen C.

17     Winckler, Esq., shall provide the United States with an affidavit or declaration setting forth the

18     facts and circumstances material to the allegations of ineffective assistance of counsel made in

19     Petitioner’s Amended Petition to Vacate, Set Aside or Correct Sentence Pursuant to 28 U.S.C. §

20     2255 (Doc. No. 1262), specifically to include the allegation that Karen C. Winckler refused

21     Defendant’s request to file a notice of appeal.

22                   IT IS FURTHER ORDERED that the United States shall file the affidavit or

23     declaration with the Clerk of this Court forthwith upon receipt.

24                   DATED this 25th day of September, 2012.

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26
                                                         HON. KENT J. DAWSON
                                                         United States District Judge
